Case No. 1:21-cv-02672-PAB-STV Document 42 filed 03/18/22 USDC Colorado pg 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  JENNIFER L. COOPER, EUGENE                     )
  DIXON, FRANCIS J. CIZMAR, ANNA                 )
  PENNALA, KATHLEEN                              )
  DAAVETTILA, CINTHIA BRUNELL,                   )
  KARYN CHOPJIAN, AND ABBIE                      )
  HELMINEN, INDIVIDUALLY, AND                    )
  ON BEHALF OF ALL OTHERS                        )
  SIMILARLY SITUATED,                            )
                                                 )
         Plaintiffs,                             )
                                                 )
  v.                                             )       CAUSE NO. 1:21-cv-02672-PAB-STV
                                                 )
  US DOMINION, INC., DOMINION                    )
  VOTING SYSTEMS, INC., DOMINION                 )
  VOTING SYSTEMS CORPORATION,                    )
  and HAMILTON PLACE                             )
  STRATEGIES, LLC,                               )
                                                 )
         Defendants.                             )



             PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE AN
          OVERLENGTH CONSOLIDATED RESPONSE TO MOTIONS TO DISMISS


         Pursuant to Judge Brimmer’s Practice Standards (Civil) § III.A., Plaintiffs Jennifer L.

  Cooper, Eugene Dixon, Fancis J. Cizmar, Anna Pennala, Kathleen Daavettila, Cynthia Brunell,

  Karyn Chopjian, and Abbie Heminen (collectively, “Plaintiffs”), respectfully request leave to file

  a 65-page consolidated response to Defendants’ separate motions to dismiss (Dkt. 40, 41)

  directed at the First Amended Class Action Complaint (Dkt. 31.) In support, Plaintiffs state the

  following:

         1.      Pursuant to D.C.COLO.LCivR 7.1(a), Plaintiffs’ counsel conferred with counsel

  for Defendants US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting




                                                     1
Case No. 1:21-cv-02672-PAB-STV Document 42 filed 03/18/22 USDC Colorado pg 2 of 4




  Systems Corporation’s (collectively, “Dominion”) and Hamilton Place Strategies, LLC’s

  (“HPS”). No Defendant opposes the relief requested herein.

         2.      Dominion previously sought and was granted leave to file a 30-page motion to

  dismiss. Plaintiffs’ counsel did not oppose Dominion’s request for extra pages in anticipation

  that Plaintiffs would be afforded the same number of pages for their Response. See Dkt. 27, at 1,

  ¶ 1.

         3.      HPS filed a separate 15-page motion to dismiss. Dkt. 41.

         4.      Both Defendants are entitled to file separate 10-page replies.       PAB Practice

  Standards (Civil) § III.A.

         5.      Plaintiffs intend to file a consolidated response to both motions, and they require

  more than the ordinary 15 pages in order to have reasonable opportunity to adequately address

  Defendants’ challenges to the pleading sufficiency of the First Amended Complaint, given the

  complex issues that Defendants raise in their two separate motions. The two motions to dismiss

  include (1) challenges to each pled element of the federal RICO claim, as well as to the elements

  of each underlying predicate act of mail fraud, witness intimidation, and extortion; (2) challenges

  to the claims brought under 42 U.S.C. § 1983 and under the First and Fourteenth Amendments

  for violations of free speech, substantive and procedural due process, and equal protection; and

  (3) challenges to Plaintiffs’ civil conspiracy claims. In addition, Plaintiffs must also address

  challenges to subject matter jurisdiction. These issues cannot be adequately briefed within the

  space afforded by the Court’s ordinary page limits.

         6.      Plaintiffs therefore request leave to file a consolidated brief with a total maximum

  length of 65 pages as their single, consolidated response to both motions to dismiss. The




                                                  2
Case No. 1:21-cv-02672-PAB-STV Document 42 filed 03/18/22 USDC Colorado pg 3 of 4




  requested number of pages is equal to the total number of pages available to Defendants for their

  moving papers and replies.

         7.      Good cause exists for the requested relief, and this request is made in good faith,

  based on a genuine need for additional pages. The requested relief will neither unduly delay the

  proceedings nor prejudice any party to this action.

         WHEREFORE, Plaintiffs respectfully request leave to file a 65-page consolidated

  response to Defendants’ separate motions to dismiss (Dkt. 40, 41) directed at the First Amended

  Class Action Complaint (Dkt. 31.)



  Dated: March 18, 2022                      Respectfully submitted,

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                                                   3
Case No. 1:21-cv-02672-PAB-STV Document 42 filed 03/18/22 USDC Colorado pg 4 of 4




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                                               Of Counsel for Plaintiffs




                                    CERTIFICATE OF SERVICE

          I hereby attest that the foregoing was filed via the Court’s CM/ ECF System and was,

  thereby, served on all parties at the time of filing.



                                                          /s/ Douglas A. Daniels
                                                          Douglas A. Daniels




                                                     4
